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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
UNITED STATES OF AMERICA                      )
                                              )
v.                                            )
                                              )       1:15-cr-10383-WGY-2
LUTHERSON BONHEUR                             )
                                              )


                       Assented to Motion to Continue Rule 11 Hearing

        Now comes Mr. Bonheur with the assent of the government and moves this Honorable

Court to continue the Rule 11 hearing presently scheduled for January 9, 2019 for a period of 45

days.

        As grounds, counsel states that the passage of the First Step Act changes the penalties

Mr. Bonheur is facing in this case. As such, the plea agreement as filed is incorrect and requires

further discussion, revision, and approval by the parties.

        The parties have consulted with the clerk and request that the Rule Hearing be

rescheduled in 45 days.



                                                             Respectfully submitted,
                                                             LUTHERSON BONHEUR

                                                             /s/ Cara McNamara
                                                             Cara McNamara
                                                             AK Bar 0511088
                                                             Assistant Federal Public Defender
                                                             Federal Defender Office
                                                             51 Sleeper Street, 5th Floor Boston,
                                                             MA 02210
                                                             Tel: 617-223-8061

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                             CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on January 7, 2019.

                                                          /s/ Cara McNamara
                                                              Cara McNamara




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